          Case 2:19-cv-06116-RBS Document 29 Filed 07/08/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN HYPNOTHERAPY SOCIETY, LLC, :
ET AL.                               :
                                     :
               v.                    :                     CIVIL ACTION NO. 19-6116
                                     :
ABC CAPITAL INVESTMENTS, LLC, ET AL. :


                                           ORDER


     AND NOW, this        8th    day of     July       , 2020, it is ORDERED as follows:

     1.       An Initial Pretrial Conference will be held on July 21, 2020 at 11:00 a.m. via

              telephone. All trial counsel and unrepresented parties shall participate.

              Counsel participating in the conference must be authorized and empowered to

              discuss and make binding decisions with regard to all aspects of this case.

     2.       No later than five (5) days prior to the date of the Initial Pretrial Scheduling

              Conference, the parties shall file with the Court a written Joint Case Report which

              shall include the following information:

                     a.      A brief statement describing the facts of the case and the basis for

                             the Court’s jurisdiction over the parties and the action (not to

                             exceed three (3) pages);

                     b.      A brief statement of all causes of action, the essential elements of

                             each cause of action, and the relief sought;
 Case 2:19-cv-06116-RBS Document 29 Filed 07/08/20 Page 2 of 2




           c.   A brief statement of the defenses asserted and the essential

                elements of each affirmative defense;

           d.   Whether the parties have complied with the disclosure

                requirements of Fed.R.Civ.P.26(a)(1) and, if not the date on which

                such disclosures will be completed;

           e.   The date by which the parties anticipate all discovery (including

                expert discovery) will be completed;

           f.   Whether all necessary parties have been properly joined, and if not,

                the name of any such party and each party’s respective position of

                why such party is or is not necessary to the action;

           g.   Whether settlement negotiations have taken place and each party’s

                respective position on settlement;

           h.   A list of all counsel who will be participating in the Scheduling

                Conference identifying the party whom each attorney represents.

IT IS SO ORDERED.

                                       BY THE COURT:


                                       /s/ R. BARCLAY SURRICK
                                       R. BARCLAY SURRICK, J.




                                  2
